UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 BERNICE FRIMPONG,                                            :
                                              Plaintiff,      :
                                                              :   22 Civ. 6704 (LGS)
                            -against-                         :
                                                              :        ORDER
 RITE-AID OF NEW YORK, INC., et al.,                          :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an Order issued August 23, 2022, scheduled the initial pretrial conference in

this matter for October 5, 2022, at 4:10 p.m. The Order directed the parties to submit a joint letter

and proposed case management plan no later than September 28, 2022. The parties have not

done so.

        WHEREAS, on August 25, 2022, Plaintiff served Defendants through the New York

Secretary of State as their agent. Defendants have not appeared or filed a response to the

Complaint. On September 21, 2022, Plaintiff attempted to file a motion for entry of default as to

Defendants, which was rejected by the Clerk of Court for administrative reasons. Plaintiff has

not re-filed this motion. It is hereby

        ORDERED that the October 5, 2022, initial pretrial conference is adjourned to

November 2, 2022, at 4:10 p.m. The parties shall file the required joint letter and proposed case

management plan no later than October 26, 2022. It is further

        ORDERED that if Plaintiff wishes to move for an entry of default, she shall file a letter

apprising the Court of her efforts to contact Defendants and provide them actual notice of this

lawsuit.

Dated: September 29, 2022
       New York, New York
